             I N T H E DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:09 CR 25-1


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                       ORDER
                                       )
EDWARD NUNZIO ALUOTTO.                 )
                                       )
______________________________________ )

       THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this court on July 2, 2009

and further being heard before this court, pursuant to a violation report (#136) filed

in this matter on June 22, 2009, in which it is alleged the defendant has violated the

terms and conditions of his pretrial release. It appearing to the court at the call of this

matter on for hearing that the defendant was present with his attorney, Richard Lee

Yelverton, III and the government was present and represented through Assistant

United States Attorney Corey Ellis. From the arguments of counsel for the defendant

and the arguments of the Assistant United States Attorney and the records in this

cause, the court makes the following findings:

       Findings.     On April 7, 2009 a bill of indictment was issued charging the

defendant with conspiracy to traffic in methamphetamine, in violation of Title 21

U.S.C. § 841(a)(1) and 846.       On July 2, 2009, the undersigned held an inquiry,




   Case 1:09-cr-00025-MR-WCM          Document 167       Filed 07/10/09    Page 1 of 4
pursuant to Rule 11 of the Federal Rules of Criminal Procedure, and accepted a plea

of guilty of the defendant to that charge. At the end of the Rule 11 proceeding, this

court presented the issue of whether or not the defendant should now be detained,

pursuant to 18 U.S.C. § 3143(a)(2). The hearing of the violation report was held open

by the court until after the Rule 11 proceeding could be completed.

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence
             that the person is not likely to flee or pose a danger to any other
             person or the community.

      From an examination of the records in this cause, it appears that the defendant

has now entered a plea of guilty on July 2, 2009 to conspiracy to violate 21 U.S.C. §

841(a)(1). That crime is one of the crimes that is referenced under 18 U.S.C. §

3142(f)(1)(C). The undersigned has made an inquiry of Assistant United States

Attorney Corey Ellis as to whether or not there was going to be a recommendation


                                         -2-



   Case 1:09-cr-00025-MR-WCM        Document 167      Filed 07/10/09   Page 2 of 4
that no sentence of imprisonment be imposed upon the defendant. Mr. Ellis advised

the court that such a recommendation could not be made in this matter. The

undersigned cannot find there is a substantial likelihood that a motion for acquittal

or new trial will be granted in that the defendant has entered a plea guilty. It would

thus appear, and the court is of the opinion that the court is required to apply the

factors as set forth under 18 U.S.C. § 3143(a)(2). The direction given in the statute

is one mandatory in nature. The statute provides as follows: “the judicial officer shall

order...”. As a result, the undersigned has no alternative other than to issue an order

revoking the terms and conditions of pretrial release of the defendant and ordering

that the defendant be detained.

      In light of the order that the undersigned is required to enter ordering the

detention of the defendant, pursuant to 18 U.S.C. § 3143(a)(2), the hearing of the

violation report is rendered moot. If it were proven to the court that the defendant

had violated the terms and conditions of his pretrial release, then one of the actions

that this court could take would be to revoke the terms and conditions of pretrial

release of the defendant. As a result of the plea of guilty of the defendant, it is

mandatory that the undersigned revoke the terms and conditions of pretrial release

and therefore no additional relief can be had by either the defendant or the

government.




                                        -3-
   Case 1:09-cr-00025-MR-WCM         Document 167      Filed 07/10/09   Page 3 of 4
                                     ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby REVOKED and it is ORDERED the defendant be

detained pending further proceedings in this matter and the hearing of the violation

report (#136) filed in this matter is hereby rendered MOOT and is thus DENIED.



                                         Signed: July 9, 2009




                                      -4-
   Case 1:09-cr-00025-MR-WCM       Document 167      Filed 07/10/09   Page 4 of 4
